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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                   Criminal No. 22-cr-178 (SRN/DTS)


UNITED STATES OF AMERICA,

                   Plaintiff,                 GOVERNMENT’S NOTICE OF
      v.                                      INTENT TO CALL WITNESS AT
                                              MOTIONS HEARING

DEVEON MARQUISE BRANCH,

                   Defendant.


      The government intends to call one or both of the following witness to

testify at the October 28, 2022, motions hearing in the above-captioned matter:

      1. Hennepin County Sheriff Office Deputy Stephen Holt, regarding the
         circumstances surrounding Defendant’s May 24, 2022 post-Miranda
         statement.


      2. Hennepin County Sheriff Office Deputy Michael Coleman, regarding
         the circumstances surrounding Defendant’s May 24, 2022 post-
         Miranda statement.

The government expects the anticipated testimony will take approximately 30

minutes on direct examination.

Dated: October 11, 2022                   Respectfully submitted,

                                          ANDREW M. LUGER
                                          United States Attorney

                                          s/Samantha H. Bates
                                          BY: SAMANTHA H. BATES
                                          Assistant U.S. Attorney
